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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              LAFAYETTE DIVISION

 NINA HU, JUNDE ZHU, XIAOTIAN YU,             )
 XILAI DAI, ZHAORUI NI, JIDEOFOR ODOEZE, )
 HAOYU JI, SEBASTIAN CARBAJAL,                )
                                              )
               Plaintiﬀs,                     )
                                              )
               v.                             )         No. 4:25-cv-00028
                                              )
 KRISTI NOEM, in her oﬃcial capacity          )
 as Secretary of the United States Department )
 of Homeland Security;                        )
 TODD LYONS, in his oﬃcial capacity as the    )
 Acting Director of United States Immigration )
 and Customs Enforcement,                     )
                                              )
               Defendants.                    )

                Veriﬁed Complaint for Declaratory and Injunctive Relief

       The plaintiﬀs, being duly sworn, and by their counsel, say as follows:

 Introduction

 1.    Foreign nonimmigrant students are allowed to remain in the United States for

 study with F-1 status after receiving an F-1 visa. the Student and Exchange Visitor

 Information Systems (SEVIS) is a database maintained by the Department of Homeland

 Security that tracks the compliance by international students with their F-1 status.

 Plaintiﬀs are nonimmigrant students who reside in Indiana and who are attending

 Indiana universities with F-1 student status and who have fully complied with all the


                                           [1]
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 requirements necessary to maintain their F-1 status. However, on or about April 3, 2025,

 the United States Department of Homeland Security (“DHS”) unilaterally terminated the

 F-1 student status of numerous students throughout the United States, as reﬂected in the

 SEVIS database. This includes the plaintiﬀs and has resulted in the loss of their ability to

 remain in the United States as students. No process was provided to challenge the

 terminations. And this was done in clear violation of federal regulations that explicitly

 limit the circumstances under which the defendants can terminate the F-1 status of

 foreign nonimmigrant students.

 2.     There are no grounds to terminate the plaintiﬀs’ F-1 status. Even if a visa is

 revoked, the United States is not authorized to terminate plaintiﬀs’ student status. The

 grounds claimed by the United States in plaintiﬀs’ SEVIS termination do not provide

 legal authority to terminate the SEVIS record. An F-1 visa controls a student’s entry into

 the country, not their continued lawful presence once admitted. Plaintiﬀs were in full

 compliance with the terms of their F-1 status and have not engaged in any conduct

 justifying termination of the status.

 3.     Assuming that they do not voluntarily depart the country, the plaintiﬀs are now

 subject to removal from the United States. The termination of their F-1 status has caused

 them, and is continuing to cause them, obvious irreparable harm. The terminations of

 their status represents ﬁnal agency action by the defendants and inasmuch as there are

 no valid grounds for the terminations and are contrary to constitutional right, the
                                             [2]
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 defendants’ actions violate the Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (B), as

 they are arbitrary, capricious, an abuse of discretion, and not otherwise in accordance

 with law and the Constitution. Moreover, plaintiﬀs have an entitlement to avoid

 termination of their F-1 status unless speciﬁc regulatory standards are met and inasmuch

 as those standards are not met here and plaintiﬀs have been aﬀorded no opportunity to

 demonstrate their continuing entitlement, the actions of the defendants also violate basic

 principles of due process guaranteed by due process secured by the Fifth Amendment to

 the United States Constitution. Plaintiﬀs are entitled to declaratory, preliminary, and ﬁnal

 injunctive relief reinstating their F-1 status.

 Jurisdiction and venue

 4.     This court has jurisdiction of this case pursuant to 5 U.S.C. § 702, 28 U.S.C. § 1331,

 and 28 U.S.C. § 1346.

 5.     Declaratory relief is authorized by Fed. R. Civ. P. 57 and 28 U.S.C. §§ 2201, 2202.

 6.     Venue is proper in this district pursuant to 28 U.S.C. § 1391.

 Parties

 7.     Nina Hu is an adult resident of Tippecanoe County, Indiana.

 8.     Junde Zhu is an adult resident of Tippecanoe County, Indiana.

 9.     Xiaotian Yu is an adult resident of Tippecanoe County, Indiana.

 10.    Xilai Dai is an adult resident of Tippecanoe County, Indiana.

 11.    Zhaorui Ni is an adult resident of Tippecanoe County, Indiana.
                                                   [3]
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 12.    Jideofor Odoeze is an adult resident of St. Joseph County, Indiana.

 13.    Haoyu Ji is an adult resident of Tippecanoe County, Indiana.

 14.    Sebastian Carbajal is an adult resident of Allen County, Indiana.

 15.    Kristi Noem is the duly appointed Secretary of the United States Department of

 Homeland Security. She is sued in her oﬃcial capacity.

 16.    Todd Lyons is the duly appointed Acting Director of United States Immigration

 and Customs Enforcement. He is sued in his oﬃcial capacity.

 Legal background

 17.    Federal law provides that noncitizens can enroll in government-approved

 academic institutions as F-1 students. See 8 U.S.C. § 1101(a)(15)(F). Students enter the

 United States on an F-1 visa issued by the United States Department of State. Then, once

 they enter the United States with an F-1 visa, students are granted F-1 student status and

 permitted to remain in the United States for the duration of status as long as the student

 continues to meet the requirements established by the regulations governing the

 student’s visa classiﬁcation.

 18.    DHS’s Student and Exchange Visitor Program (SEVP) is in charge of administering

 the F-1 student program and tracking information on students in F-1 student status.

 19.    SEVIS is a web-based database that DHS uses to track and monitor, among others,

 nonimmigrant students who have F-1 status.



                                            [4]
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 20.    An academic institution must obtain formal approval from DHS before it can

 sponsor a student’s F-1 status. An institution must ﬁrst ﬁle an application for School

 Certiﬁcation through the SEVIS system. 8 C.F.R. § 214.3.

 21.    Each school has a Designated School Oﬃcial (“DSO”) who monitors the student

 and who issues an I-20 form, which memorializes the student as someone admitted to the

 United States pursuant to the F-1 visa. U.S. Dep’t of Homeland Sec., Study in the States,

 https://studyinthestates.dhs.gov/students/prepare/students-and-the-form-i-20             (last

 visited Apr. 13, 2025).

 22.    In addition to traditional education, F-1 students may also participate in two types

 of practical training programs. 8 C.F.R. § 214.2(f)(10)(ii). Curricular practical training, or

 “CPT,” includes alternative work/study, internship, cooperative education, or any other

 type to required internship or practicum that is oﬀered by sponsoring employers through

 cooperative agreements with the school” that is “an integral part of an established

 curriculum.” 8 C.F.R. § 214.2(f)(1)(i). Optional Practical Training, or “OPT” consists of

 temporary employment that is directly related to the student’s major area of study. 8

 C.F.R. § 214.2(f)(1)(ii).

 23.    Once a student has completed his or her course of study and any accompanying

 practical training, they have sixty days to either depart the United States or transfer their

 status to another institution. 8 C.F.R. § 214.2(f)(5)(iv).



                                                [5]
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 24.    If a student voluntarily withdraws from the F-1 program, they have 15 days to

 depart the United States. Id.

 25.    However, “an F-1 student who fails to maintain a full course of study without

 approval of the DSO or otherwise fails to maintain status is not eligible for an additional

 period for departure.” Id.

 26.    Under the regulation, DSOs at schools must report through SEVIS to SEVP when

 a student fails to maintain status. See 8 C.F.R. § 214.3(g)(2).

 27.    Termination of F-1 status is reﬂected in SEVIS and students will be notiﬁed of their

 loss of status through their DSO.

 28.    The regulations distinguish between two separate ways a student may fall out of

 status: (1) a student who “fails to maintain status”; and (2) an agency-initiated

 “termination of status.”

 29.    Students fail to maintain their F-1 status if they fail to satisfy the requirements

 imposed on F-1 students by federal regulations: failure to maintain a full course of study,

 engaging in unauthorized employment, providing false information to DHS, or being

 convicted of a crime of violence for which a sentence of more than one year can be

 imposed. 8 C.F.R. § 214.2(e)-(g).

 30.    While F-1 status may be lost as outlined above, DHS’s ability to terminate F-1

 student status “is limited by [8 C.F.R.] § 214.1(d).” Jie Fang v. Dir. U.S. Immig. & Cust.

 Enforc., 935 F.3d 172, 185, n. 100 (3d Cir. 2019).
                                               [6]
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 31.    Termination of F-1 status as reﬂected in the SEVIS record means that the student

 is out of status.

 32.    Under 8 C.F.R. § 214.1(d), DHS can terminate F-1 student status only when: (1) a

 previously granted waiver under 8 U.S.C. § 1182(d)(3) or (4) is revoked; (2) a private bill

 to confer lawful permanent residence is introduced in Congress; or (3) DHS publishes a

 notiﬁcation in the Federal Register identifying national security, diplomatic, or public

 safety reasons for termination.

 33.    To remove a noncitizen after their nonimmigrant status is revoked, DHS must ﬁle

 the Notice to Appear, which is the charging document that initiates immigration court

 proceedings.

 34.    Once the Notice to Appear is ﬁled, the individual may be taken into custody under

 a Warrant of Arrest.

 35.    However, there is a clear distinction between the revocation of an F-1 visa, which

 limits the ability of a person to reenter the United States and the termination of a person’s

 status through termination of the SEVIS record.

 36.    DHS’s own policy guidance conﬁrms that “[v]isa revocation is not, in itself, a cause

 for termination of the student’s SEVIS record.” See ICE Policy Guidance 1004-04 – Visa

 Revocations (June 7, 2010) at 3, available at https://www.ice.gov/doclib/sevis/pd/visa_

 revocations_1004_04.pdf (last visited Apr. 10, 2025).



                                              [7]
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 37.    The Immigration Judge in a removal proceeding has no ability to review and

 reverse the status termination as reﬂected in SEVIS because the process is collateral to

 removal proceedings. See Jie Fang, 935 F.3d at 183.

 38.    Defendants’ action in terminating a student’s lawful status in the United States

 may lead to detention and the initiation of removal proceedings with the student not

 being able to contest the validity of their termination that is the cause for the removal.

 39.    The termination of a person’s status as reﬂected in the SEVIS record represents

 ﬁnal agency action for purposes of review under the Administrative Procedure Act. See

 Jie Fang, 935 F.3d at 185.

 Factual allegations

        Nina Hu

 40.    Nina Hu is a sophomore at Purdue University in West Lafayette, Indiana.

 41.    Ms. Hu is a Chinese national, although she was born in Ukraine.

 42.    Ms. Hu came to the United States to attend Purdue in 2023.

 43.    Ms. Hu is majoring in Computer Science and Data Science, with a minor in

 Business Economics.

 44.    Ms. Hu receives excellent grades and has been a student in good standing at

 Purdue University.

 45.    Ms. Hu intends to pursue a career involving computer science upon graduation

 and is also contemplating going to law school.
                                              [8]
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 46.    Ms. Hu received F-1 status in 2023 and has had this status continuously without

 interruption since that time.

 47.    Ms. Hu has never committed a criminal oﬀense and has complied with all the rules

 and regulations imposed on a person with F-1 status.

 48.    Ms. Hu was involved in an incident that came to the attention of the Tippecanoe

 County Prosecutor. The Prosecutor’s oﬃce determined that she was the victim of a crime

 and, of course, no criminal charges were brought against her.

 49.    Nevertheless, on April 3, 2025, Ms. Hu received an email from the Director of

 International Student Services at Purdue that stated that “[i]t has come to our attention

 that your SEVIS record and lawful F-1 status in the United States have been terminated.”

 The notice further provides that if she is employed, she must immediately cease her

 employment. The notice is attached as Exhibit 1.

 50.    Ms. Hu is not currently employed but had been hired for a job at Purdue

 University this summer. She will not be able to be employed now that her F-1 status has

 been terminated.

 51.    On April 9, 2025, Ms. Hu received a notice from the United States State

 Department’s Bureau of Consular Aﬀairs Visa Oﬃce that speciﬁed that her visa had been

 revoked and that she would need to leave the country or face deportation at any time.

 The notice further provided that “[p]ersons being deported may be sent to countries other

 than the countries of origin.”
                                            [9]
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 52.       There is no lawful basis for the termination of Ms. Hu’s SEVIS record and the

 resulting termination of her F-1 status, and none of the bases for termination of status

 articulated in 8 C.F.R. § 214.1(d) are applicable to her.

 53.    Ms. Hu has no recourse to challenge the termination of her lawful F-1 status.

 54.    Ms. Hu has paid $15,000 for this semester to Purdue for her studies and still owes

 $5,000.

 55.    This termination is devastating to Ms. Hu. She has not yet completed her

 undergraduate degree, which will serve as the foundation for her career. She would like

 to earn her degree in the United States but now fears that the revocation of her status will

 impact her prospects in other countries, limiting her options around the globe.

 56.    Since Ms. Hu received the notice of the termination of her F-1 status, she has been

 overwhelmed with uncertainty and fear due to the possibility of being subject to

 immediate detention and deportation. Due to this, she has been experiencing depression,

 trouble sleeping, and diminished appetite.

        Junde Zhu

 57.       Junde Zhu is currently a junior at Purdue University in West Lafayette, Indiana

 studying Natural Resources and Environmental Science with an expected graduation

 date in May of 2026.




                                              [10]
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 58.    Mr. Zhu is a citizen of China who received his F-1 status in 2022 and has had this

 status continuously since that time. He has fully complied with the requirements to

 maintain his visa.

 59.    Mr. Zhu is taking a full caseload and plans upon pursuing a master’s degree in the

 United States in Environmental Science upon graduation.

 60.    Mr. Zhu has been a student in good standing at Purdue University.

 61.    Nevertheless, on April 9, 2025, Mr. Zhu received a notice from the Director of

 International Services at Purdue that states:

        It has come to our attention that your SEVIS record and F-1 status in the
        United States have been terminated. Your SEVIS record and F-1 status were
        terminated on 4/8/2025 for the reason: OTHER- Individual identiﬁed in
        criminal records check and/or has had their VISA revoked.

 The notice is attached as Exhibit 2.

 62.    In 2024 Mr. Zhu pled guilty to a non-traﬃc citation for disorderly conduct for

 which he received a ﬁne and had to pay restitution. This was in Pennsylvania.

 63.    This is the only oﬀense for which Mr. Zhu has been convicted. It is not an oﬀense

 that allows for termination or loss of his F-1 status and SEVIS record.

 64.    Since receiving the April 9, 2025 notice Mr. Zhu received a notice from the United

 States Department of State, Bureau of Consular Aﬀairs Visa Oﬃce stating that his F-1 visa

 had been revoked under Section 221(i) of the United States Immigration and Nationality

 Act, and that “[r]emaining in the United States without a lawful immigration status can


                                             [11]
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 result in ﬁnes, detention, and/or deportation. It may also make you ineligible for a future

 U.S. visa.” It also warned that “[p]ersons being deported may be sent to countries other

 than their countries of origin.” On information and belief this notice is because of the

 termination of his F-1 status as reﬂected in his SEVIS record. The notice is attached as

 Exhibit 3.

 65.    There is no lawful basis for the termination of Mr. Zhu’s F-1 status, and none of

 the bases for termination of status articulated in 8 C.F.R. § 214.1(d) are applicable to him.

 66.    Mr. Zhu has no recourse to challenge the termination of his lawful F-1 status and

 SEVIS record.

 67.    The termination of Mr. Zhu’s F-1 status will render him unable to ﬁnish and

 continue his education as planned.

 68.    He is currently not attending classes and may be receiving incompletes for all of

 his classes and, in any event, will not be able to complete his degree.

 69.    If he has to leave the United States, he will lose access to his academic program,

 research, and campus resources and will injure and derail his academic trajectory

 70.    Mr. Zhu has paid $15,552 to attend Purdue University this semester.

 71.    Since Mr. Zhu received notice of his SEVIS termination, he lives in constant and

 continuing fear of being arrested and removed to an unknown country. He has been

 unable to maintain his usual schedule and is conﬁning himself to his home to mitigate

 the risk of seizure by ICE. He has been experiencing diﬃculty concentrating, trouble
                                             [12]
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 falling asleep and recurring nightmares about being deported to prison in El Salvador or

 being sent to a random country.

       Xiaotian Yu

 72.   Xiaotian Yu is currently studying for a master’s degree at Purdue University in

 West Lafayette, Indiana.

 73.   Mr. Yu is a citizen of China.

 74.   Mr. Yu is scheduled to graduate in May of 2025 with a graduate degree in

 Aerospace/Aviation.

 75.   Mr. Yu has a 3.8 grade point average and has been a student in good standing at

 Purdue University.

 76.   Mr. Yu received his current F-1 status in July of 2024. He has a prior F-1 status

 beginning in 2017. He has fully complied with the requirements to maintain his visa.

 77.   In 2022, Mr. Yu was charged with domestic violence in Illinois. However, the case

 was dismissed and there was no conviction.

 78.   Mr. Yu has not been convicted of any oﬀenses.

 79.   On April 9, 2025, Mr. Yu received a notice from the Director of International

 Services at Purdue University that states:

       It has come to our attention that your SEVIS record and F-1 status in the United
       States have been terminated. Your SEVIS record and F-1 status were terminated on
       4/8/25 for the reason: OTHER – Individual identiﬁed in criminal records check
       and/or has had their VISA revoked.


                                              [13]
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 The notice is attached as Exhibit 4.

 80.    There is no lawful basis for the termination of Mr. Yu’s SEVIS record and the

 resulting termination of his F-1 status, and none of the bases for termination of status

 articulated in 8 C.F.R. § 214.1(d) are applicable to him.

 81.    Mr. Yu has no recourse to challenge the termination of his lawful F-1 status and

 SEVIS record.

 82.    The termination of Mr. Yu’s F-1 status record will render him unable to ﬁnish and

 continue his education as planned.

 83.    He would also be liable for apartment rental payments for the next three months

 if he is forced to leave the country.

 84.    Since Mr. Yu’s received notice of his SEVIS termination, he has been living in fear

 that he will be arrested and removed to an unknown country. He does not feel safe

 leaving his house and has been experiencing loss of sleep, heightened stress, and loss of

 appetite.

        Xilai Dai

 85.    Mr. Dai is in the ﬁrst year of a Ph.D. program in chip design at Purdue University

 in West Lafayette, Indiana.

 86.    Mr. Dai has been a student in good standing at Purdue and received his

 undergraduate degree in Computer Engineering at Purdue in 2023.

 87.    Mr. Dai is a citizen of China.
                                             [14]
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 88.    Mr. Dai received an F-1 status in 2019. In the summer of 2024, he returned home

 to China and applied to renew the VISA so he could return to Purdue. He inadvertently

 failed to disclose on his application that he had been arrested in Tippecanoe County in

 2022 for underage consumption of alcohol, as the charge was dismissed. After an initial

 denial of the VISA, he reapplied and disclosed the arrest, and the VISA was approved

 and renewed. He has fully complied with the requirement to maintain his visa.

 89.    The only other arrests or citations that Mr. Dai has received is a citation for a

 speeding ticket in December of 2024 for which he has received a deferral for one year after

 which the matter will be closed.

 90.    On April 9, 2025, Mr. Dai received a notice from the Director of International

 Services at Purdue that states:

        It has come to our attention that your SEVIS record and F-1 status in the
        United States have been terminated. Your SEVIS record and F-1 status were
        terminated on 4/8/2025 for the reason: OTHER - Individual identiﬁed in
        criminal records check and/or has had their VISA revoked.

        If you are currently employed, you are advised to cease employment
        immediately, and you are no longer legally authorized to continue your
        studies in the United States.

 The notice is attached as Exhibit 5.

 91.    On April 9, Mr. Dai also received an email from the United States Embassy in

 Beijing stating that “additional information became available after your visa issued. As a

 result, your F-1 visa with expiration date 14-JUL-2025 has been revoked under Section


                                            [15]
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 221(i) of the United States Immigration and Nationality Act.” On information and belief

 this “additional information” refers to the termination of his F-1 status as reﬂected in his

 SEVIS record. The email is attached as Exhibit 6.

 92.    The Embassy notice also states that remaining in the United States subjected Mr.

 Dai to ﬁnes, detention, and/or deportation. It further states that “deportation can take

 place at a time that does not allow the person being deported to secure possessions or

 conclude aﬀairs in the United States. Persons being deported may be sent to countries

 other than their countries of origin.”

 93.    Mr. Dai’s sole income has been from teaching classes at Purdue and he was

 scheduled to be a paid research assistant at Purdue this summer. However, now that his

 F-1 status has been revoked, his income will be stopping and he will have absolutely no

 income.

 94.    There is no lawful basis for the termination of Mr. Dai’s SEVIS record and the

 resulting termination of his F-1 status, and none of the basis for termination of status

 articulated in 8 C.F.R. § 214.1(d) are applicable to him.

 95.    Mr. Dai has no recourse to challenge the termination of his lawful F-1 status and

 SEVIS record.

 96.    The termination of Mr. Dai’s F-1 status and SEVIS record will render him unable

 to ﬁnish and continue his education as planned. He has been advised by Purdue to not

 go to campus, which includes the lab where he needs to perform research.
                                             [16]
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 97.    The termination of his F-1 status will seriously disrupt and interfere with his

 education and his life.

 98.    He is liable for apartment rental payments for the next year as he re-signed his

 lease prior to receiving the notice of his SEVIS termination.

 99.    Since Mr. Dai received notice of his SEVIS termination, he has been living without

 income and has been avoiding leaving his apartment out of fear that he will be picked up

 and deported to an unknown country. He has also been experiencing panic, paranoia,

 and increased stress due to the uncertainty of his future.

 100.   Mr. Dai has been committed to his education and has achieved honors and Dean’s

 List recognition every year.

 101.   Termination of his F-1 status has made him feel like a criminal, even though he has

 done nothing to warrant the termination. All his dreams for a better future have been

 taken from him because of this.

        Zhaorui Ni

 102.   Zhaorui Ni is currently a doctoral student in Computer Engineering at Purdue

 University in West Lafayette, Indiana who was expected to get her degree in 2028.

 103.   Ms. Ni has been a student in good standing at Purdue.

 104.   Ms. Ni is a citizen of China.

 105.   Ms. Ni has had her F-1 status since 2019. She has fully complied with the

 requirements to maintain her visa.
                                             [17]
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 106.   On April 9, 2025, Ms. Ni received a notice from the Director of International

 Services at Purdue that states:

        It has come to our attention that your SEVIS record and F-1 status in the
        United States have been terminated. Your SEVIS record and F-1 status were
        terminated on 4/8/2025 for the reason: OTHER - Individual identiﬁed in
        criminal records check and/or has had their VISA revoked.

        If you are currently employed, you are advised to cease employment
        immediately, and you are no longer legally authorized to continue your
        studies in the United States.

 The notice is attached as Exhibit 7

 107.   Ms. Ni has been employed as an instructor at Purdue and was scheduled to be

 employed by Purdue this summer as either an instructor or researcher. However, because

 of the revocation of her F-1 status, her employment has ceased. This was her only income.

 108.   The only criminal history that Ms. Ni has are 1) misdemeanor charges for criminal

 trespass and resisting law enforcement that were ﬁled in June of 2024. She has entered to

 a diversion concerning these charges and pursuant to the diversion agreement they are

 scheduled to be dismissed in December of 2025 if she fully complies with the terms of the

 diversion of the agreement, which she believes she has done and 2) a speeding ticket

 which was deferred and has been fully resolved.

 109.   There is no lawful basis for the termination of Ms. Ni’s SEVIS record and the

 resulting termination of her F-1 status, and none of the bases for termination of status

 articulated in 8 C.F.R. § 214.1(d) are applicable to her.


                                              [18]
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 110.   Ms. Ni has no recourse to challenge the termination of her lawful F-1 status and

 SEVIS record.

 111.   The termination of Ms. Ni’s F-1 status will render her unable to continue and

 complete her education as she has been advised by the school that she no longer has the

 necessary status to study in the United States, which will mean that all of her hard work

 was for naught and will disrupt, perhaps permanently, her education and educational

 progress.

 112.   She knows that she is now subject to detention and deportation. Since Ms. Ni

 received notice of her SEVIS termination, she has conﬁned herself to her home due to it

 causing immense worry and emotional harm. She is now staying in her home 24-hours a

 day. She has been in a constant state of fear and having trouble sleeping. When she does

 sleep, she is having nightmares about being detained and being abused while in

 detention. When she is awake she is experiencing ﬁts of crying.

 113.   The termination of her F-1 status has also caused her to be unable to work therefore

 losing her only income and possibly her insurance.

        Jideofor Odoeze

 114.   Jideofor Odoeze is a citizen of Nigeria who is enrolled at Notre Dame.

 115.   He has been a student in good standing and is currently studying for a Ph.D in

 Electrical Engineering with an expected graduation date of May of 2025.



                                            [19]
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 116.    He is a ﬁnalist for receiving an Acitvate Fellowship funded by CHIPS for America

 through the National Institute for Standards and Technology under the United States

 Department of Commerce, and was expecting to learn in the near future if this had been

 awarded.

 117.    In the course of his study and work at Notre Dame, he invented a laser technology

 for optical communications, quantum technology, and free-space sensing, for which

 Notre Dame has ﬁled a patent.

 118.    The fellowship for which he is a ﬁnalist speciﬁcally aims to support scientists and

 engineers in translating their research into new products and services with broad societal

 beneﬁts and fellows receiving training, funding, access to research facilities, and

 mentoring.

 119.    He initially received an F-1 visa in 2018 and after visiting Nigeria and before

 returning to the United States he received a new F-1 visa in 2022 and has had F-1 status

 since that time. He has fully complied with the requirements to maintain his visa.

 120.    He is married and his wife is a dependent of his F-1 visa. She therefore has an F-2

 visa.

 121.    He and his wife have two young children who are both United States citizens.

 122.    On April 8, 2025, he received an email from the Executive Director of the

 International Student & Scholar Aﬀairs at Notre Dame informing him that DHS had

 terminated his SEVIS immigration record. The reason given for this termination is
                                             [20]
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 “OTHER - Individual identiﬁed in criminal records check and/or has had their VISA

 revoked. SEVIS record has been terminated.”

 123.   The email further states that “based on this DHS action to your record, your F-1

 status in the U.S. is terminated, and you are no longer considered lawfully present in the

 U.S. Additionally, you may be at risk of detention and deportation.” It further provides

 that “if you are still present in the U.S., you should make immediate plans to depart

 United States. There is no grace period with this termination.”

 124.   The email is attached as Exhibit 8.

 125.   The termination of his F-1 status automatically terminates his wife’s F-2 visa.

 126.   Mr. Odoeze has been employed by Notre Dame. That is the only income in the

 family and that has now stopped with the termination of his F-1 status.

 127.   In 2024, Mr. Odoeze was charged with domestic battery and disorderly conduct.

 However, the domestic battery charge was dismissed and Mr. Odoeze pled guilty to the

 disorderly conduct charge as a B-misdemeanor and he was only assessed fees. He has

 also been charged with speeding as an infraction, but has been told by the judge in the

 case that the charge will be dismissed on April 22, 2025 if there have been no further

 citations. He has not received any further citations.

 128.   There is no lawful basis for the termination of his SEVIS record and the resulting

 termination of his F-1 status, and none of the bases for termination of status articulated

 in 8 C.F.R. § 214.1(d) are applicable to him.
                                              [21]
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 129.   Mr. Odoeze has no recourse to challenge the termination of his lawful F-1 status.

 Indeed, the email that he received from Notre Dame states that “we are unaware of any

 available path to reinstate your status from within the U.S.”

 130.   The termination of his F-1 status has devastating consequences.

 131.   Even if he did not receive the Fellowship, he was planning to convert his F-1 status

 into OPT employment to pursue his development and career. All of this has been

 completely derailed now that his F-1 status has been terminated.

 132.   All of his family’s income has now been terminated. He and his wife are buying a

 house and a car and they have no way to pay for either, or any other expenses.

 133.   He and his family are now at risk of becoming homeless.

 134.   Although his young children (two and four years of age) are American citizens,

 they are facing a profound disruption of their lives.

 135.   He is terriﬁed of what the future might bring. He is trying not to leave the house

 unless it is absolutely necessary to do so.

 136.   This has completely upended his life and the life of his family.

        Haoyu Ji

 137.   Mr. Ji is scheduled to graduate in December of 2025 at the earliest, with a

 bachelor’s degree in computer science from Purdue University in West Lafayette, Indiana.

 138.   Mr. Ji has been a student in good standing at Purdue University with a 3.76 grade

 point average.
                                               [22]
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 139.   On April 18, 2025, Mr. Ji learned that he had been accepted into the very

 competitive Summer Undergraduate Research Fellowship program oﬀered by the

 Engineering Undergraduate Research Oﬃce at Purdue University.

 140.   The fellowship aims to provide students with an opportunity to work with faculty

 and graduate student mentors to experience hands-on research with cutting-edge

 research tools and to explore advanced education and research careers. People in the

 fellowship are paid a stipend for the summer.

 141.   Mr. Ji is a citizen of China.

 142.   Mr. Ji received an F-1 visa in 2023 and has had F-1 status continuously without

 interruption since that time.

 143.   The only criminal history that Mr. Ji has is a B misdemeanor for disorderly

 conduct, which was ﬁled in March of 2024; however, the charge was dismissed and

 expunged in April of 2025.

 144.   On April 9, 2025, Mr. Ji received a notice from the Director of International Services

 at Purdue that states:

        It has come to our attention that your SEVIS record and F-1 status in the
        United States have been terminated. Your SEVIS record and F-1 status were
        terminated on 4/8/2025 for the reason: OTHER - Individual identiﬁed in
        criminal records check and/or has had their VISA revoked.

 The notice is attached as Exhibit 9.




                                             [23]
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 145.   There is no lawful basis for the termination of Mr. Ji’s SEVIS record and the

 resulting termination of his F-1 status, and none of the bases for termination of status

 articulated in 8 C.F.R. § 214.1(d) are applicable to him.

 146.   Mr. Ji has no recourse to challenge the termination of his lawful F-1 status

 147.   The termination of Mr. Ji’s F-1 status will render him unable to continue and ﬁnish

 his education as planned. He will not be able to be accepted into the Summer

 Undergraduate Research Fellowship program, which was going to provide his only

 source of income over the summer, due to his loss of status. This will seriously disrupt

 his future.

 148.   Mr. Ji is liable for apartment rental payments for the next three months.

 149.   Since Mr. Ji received notice of his SEVIS termination, he is now living in fear that

 he will be arrested and deported.

 150.   He has been unable to attend classes and has been unable to continue to conduct

 his research.

 151.   He rarely leaves his home and when he does he tries to stay inside.

 152.   He is suﬀering from severe depression that is only increasing as this ordeal

 continues.

 153.   Mr. Ji’s plan is to pursue a master’s degree and doctorate in the area human-

 computer interaction with the goal of assisting persons with disabilities. He will not be



                                             [24]
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 able to achieve this goal if he cannot continue his education in the United States. He could

 not pursue these educational and professional goals in China.

        Sebastian Carbajal

 154.   Mr. Carbajal is scheduled to graduate in December 2025 with an MBA in Business

 Analytics from Indiana Tech in Fort Wayne, Indiana.

 155.   Mr. Carbajal has been a student in good standing with a 4.0 grade point average.

 156.   Due to Mr. Carbajal’s excellent scholastic achievements, he has been oﬀered a paid

 corporate ﬁnance and accounting internship with PNC in Pittsburgh, Pennsylvania to

 begin in May of 2025 through Curricular Practical Training (CPT).

 157.   Mr. Carbajal is a citizen of Mexico.

 158.   Mr. Carbajal received an F-1 visa in 2021 and has had this status continuously

 without interruption since that time.

 159.   The only criminal history that Mr. Carbajal has are: 1) a misdemeanor charge for

 conversion that was ﬁled in March of 2022. He entered into a diversion agreement, the

 case was dismissed in April of 2023, and it was subsequently expunged in January of

 2025; 2) a speeding ticket which he paid; and 3) a parking ticket which he has also paid.

 160.   On April 11, 2025, Mr. Carbajal received a notice from the Executive Director of

 International Admissions & Services at Indiana Tech that states:

        It has come to our attention that your SEVIS record and F-1 status in the United
        States have been terminated. Your SEVIS record and F-1 status were terminated on
        April 9, 2025 for the reason: TERMINATION REASON: OTHER – Individual
                                               [25]
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        identiﬁed in criminal records check and/or has had their VISA revoked. SEVIS
        record has been terminated.

 The notice also states “[w]hile the International Services oﬃce is typically available to

 assist students with routine visa or SEVIS issues, we have no further information and are

 unable to provide any guidance or assistance with respect to your immigration status.”

 The notice is attached as Exhibit 10.

 161.   Mr. Carbajal also received a notice from the United States Department of State, the

 Bureau of Consular Aﬀairs Visa Oﬃce which informed him “additional information

 became available after your visa was issued. As a result, your F-1 visa with expiration

 date 06-Jul-2025 has been revoked under Section 221(i) of the United States Immigration

 and Nationality Act, as amended.” The notice also states:

        Remaining in the United States without lawful immigration status can result in
        ﬁnes, detention, and/or deportation. It may also make you ineligible for a future
        U.S. visa. Please note that deportation can take place at a time that does not allow
        the person being deported to secure possessions or conclude aﬀairs in the United
        States. Persons being deported may be sent to countries other than their countries
        of origin.

 The notice is attached as Exhibit 11.

 162.   There is no lawful basis for termination of Mr. Carbajal’s F-1 status and none of

 the bases for termination of status articulated in 8 C.F.R. § 214.1(d) are applicable to him.

 163.   Mr. Carbajal has no recourse to challenge the termination of his lawful F-1 status

 and SEVIS record.



                                             [26]
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 164.    The termination of Mr. Carbajal’s F-1 status will render him unable to continue

 and to ﬁnish his education as planned.

 165.    The termination of his F-1 status has also caused him loss of income as he has not

 been able to continue his paid internship and he will not be able to accept the paid

 internship that he has been oﬀered at PNC, both of which were his only sources of

 income. Mr. Carbajal is conﬁdent that after the internship that he would have received a

 return oﬀer from PNC, which would be his dream job.

 166.    He will lose the opportunity to continue to pursue his chosen career in the ﬁnancial

 services industry through the OPT opportunity that the F-1 status provides.

 167.    Since Mr. Carbajal received notice of his SEVIS termination, he has been struggling

 with anxiety, depression and fear due to the possibility of being detained and deported

 to El Salvador or a diﬀerent random country.

 168.    Mr. Carbajal’s entire life is being negatively aﬀected by the termination. He avoids

 leaving his apartment and when he has to drive to obtain essential items, he is extra

 cautious for fear of being pulled over and detained.

 169.    He no longer feels safe and has never experienced anything like this before in his

 life. It is a terrible feeling.

 170.    This has completely upended his life and his future.




                                             [27]
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 Concluding allegations

 171.      Plaintiﬀs are being caused irreparable harm for which there is no adequate remedy

 at law.

 Legal claims

 172.      The termination of plaintiﬀs’ F-1 status by defendants as the result of the

 termination of their SEVIS records represents ﬁnal agency action and was without

 statutory or regulatory authority in violation of the Administrative Procedure Act, 5

 U.S.C. § 706(2)(A), (B) as it is arbitrary, capricious, and “contrary to constitutional right,

 power, privilege or immunity.”

 173.      The termination of plaintiﬀs’ F-1 status by defendants as the result of the

 termination of their SEVIS records occurred without adequate notice and the opportunity

 to meaningfully challenge the termination in violation of due process.

 Request for relief

           WHEREFORE, plaintiﬀs request that this Court:

           a.    assume jurisdiction of this case and set it for hearing at the earliest
                 opportunity;

           b.    enter a declaratory judgment that the actions of the defendants are unlawful
                 for the reasons noted above;

           c.    enter a preliminary injunction, later to be made permanent, enjoining
                 defendants




                                              [28]
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                   i. from detaining plaintiﬀs until this matter is resolved and
                      enjoining defendants to immediately reinstate plaintiﬀs’ F-1
                      student status;

                   ii. enjoining defendants to provide adequate notice and the
                       opportunity to be heard if defendants attempt to terminate their
                       F-1 status and SEVIS immigration records;

       d.    award plaintiﬀs their reasonable costs and attorneys’ fees pursuant to 28
             U.S.C. § 2412 as the defendants’ actions in this case are not substantially
             justiﬁed;

       e.    award all other proper relief




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